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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                      §
                                            §      CASE NO. 12-36187-H1-11
ATP OIL & GAS CORPORATION,                  §
                                            §      CHAPTER 11
                DEBTOR                      §
                                            §
BENNU OIL & GAS, LLC                        §      ADVERSARY NO. 14-03001
                                            §
                PLAINTIFF,                  §
vs.                                         §
                                            §
BLUEWATER INDUSTRIES, LP and                §
TECHNIP USA, INC.                           §
                                            §
                DEFENDANTS                  §

         THIRD PARTY DEFENDANT PARKER-HANNIFIN CORPORATION’S
                            JURY DEMAND

        Parker-Hannifin Corporation demands a trial by jury.

                                            Respectfully submitted,


                                            MEHAFFYWEBER, P.C.

                                            /s/ Jeremy R. Stone
                                            Jeremy R. Stone
                                            Attorney-in-charge
                                            State Bar No. 24013577
                                            jeremystone@mehaffyweber.com
                                            S.D. Texas I.D. No. 27060
                                            500 Dallas, Suite 1200
                                            Houston, Texas 77002
                                            Phone: (713) 655-1200
                                            Fax: (713) 655-0222
                                            ATTORNEY FOR DEFENDANT PARKER-
                                            HANNIFIN CORPORATION




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Of counsel:

MEHAFFY WEBER, P.C.

Louis M. Scofield, Jr.
State Bar No. 17884500
LouisScofield@mehaffyweber.com
Post Office Box 16
Beaumont, Texas 77704
Telephone: 409/835-5011
Telecopier: 409/835-5177


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document was served via the Court’s
Electronic Filing System on September 2, 2014.


                                                   /s/ Jeremy R. Stone
                                                   JEREMY R. STONE




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